                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


  THE DAILY WIRE, LLC,
  1831 12th Ave S.
  Ste. 460
  Nashville, TN 37203

                       Plaintiff,               Civil Action No.: 1:223-cv-03799

               v.

  THE UNITED STATES
  DEPARTMENT OF JUSTICE
  950 Pennsylvania Ave NW
  Washington, DC 20530

                       Defendant.


                                    COMPLAINT

      1.     The Plaintiff, The Daily Wire, LLC, (“The Daily Wire”) brings this action

against the United States Department of Justice (“DOJ”), to compel compliance with

the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

                           JURISDICTION AND VENUE

      2.     This Court has jurisdiction over this action pursuant to 5 U.S.C. §

552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

      3.     Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).
                                     PARTIES

      4.     The Plaintiff, Bentkey Ventures, LLC, d/b/a “The Daily Wire” (“The

Daily Wire”), is a media organization that (among other activities) gathers, analyzes,

and disseminates official information through written reporting, podcasts, and other

channels to educate the public.

      5.     The Daily Wire has over 2 million followers on X (formerly known as

Twitter), over 3.7 million followers on Facebook, and 2.2 million followers on

Instagram.

      6.     The Defendant DOJ is an agency under 5 U.S.C. § 552(f), with its

headquarters at 950 Pennsylvania Ave NW, Washington, DC 20530.

      7.     The Defendant has possession, custody, and control of the requested

records.

                                     BACKGROUND

      8.     “Timely disclosure of records is also essential to the core purpose of

FOIA.” U.S. DEP’T JUST., Freedom of Information Act Guidelines (Mar. 15, 2022),

https://tinyurl.com/2yd463dv.

                     THE DAILY WIRE’S FOIA REQUESTS

                                Hannah Levine Request

      9.     On August 3, 2023, Luke Rosiak, on behalf of The Daily Wire, submitted

a FOIA request to DOJ’s Community Relations Service (“CRS”) seeking Hannah

Levine’s emails between July 20, 2023, and August 3, 2023. Ex. A.

      10.    This request sought a fee waiver. Id.




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      11.    As of the date of this filing, CRS has not responded to this request.

                                  Scope of Activity Request

      12.    On October 23, 2023, The Daily Wire submitted a FOIA request to CRS

seeking documents that reflect the scale of the component’s activity since 2020. Ex.

B.

      13.    This request sought a fee waiver. Id.

      14.    This request sought expedited processing. Id.

      15.     As of the date of this filing, CRS has not responded to this request.

                               CLAIM FOR RELIEF

                          Violation of the FOIA, 5 U.S.C. § 552

      16.    The Daily Wire incorporates the above paragraphs by reference.

      17.    The Daily Wire properly requested records within the possession,

custody, and control of the Defendant.

      18.    The Defendant failed to acknowledge receipt of The Daily Wire’s

requests.

      19.    The Defendant failed to conduct searches for responsive records.

      20.    Moreover, because Defendant failed to conduct searches, they have

failed to disclose any segregable, non-exempt portions of responsive records. See 5

U.S.C. § 552(b).

      21.    The Defendant has failed to respond to The Daily Wire’s requests within

the statutory time period. See 5 U.S.C. § 552(a)(6).




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      22.    Accordingly, The Daily Wire has exhausted its administrative remedies.

See 5 U.S.C. § 552(a)(6)(C).

      23.    The Defendant has violated the FOIA by failing, within the prescribed

time limit, to reasonably search for records responsive to The Daily Wire’s FOIA

request and release nonexempt records.

                               PRAYER FOR RELIEF

      WHEREFORE, The Daily Wire respectfully requests that this Court:

      i.     Declare that the records sought by The Daily Wire’s requests must be

disclosed pursuant to 5 U.S.C. § 552;

      ii.    Order the Defendant to search immediately, demonstrating search

methods reasonably likely to lead to the discovery of responsive records;

      iii.   Order the Defendant to produce by a date certain all non-exempt records

responsive to The Daily Wire’s FOIA requests, accompanied by a Vaughn index of

any responsive records or portions of responsive records being withheld under a

claim of exemption;

      iv.    Order the Defendant to grant The Daily Wire’s requests for fee waivers;

      v.     Award The Daily Wire attorneys’ fees and costs incurred in this action

pursuant to 5 U.S.C. § 552(a)(4)(E); and

      vi.    Grant The Daily Wire such other and further relief as this Court deems

proper.




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Date: December 21, 2023
                          Respectfully Submitted


                          /s/ Jacob Meckler_________________
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                          *D.D.C. Application Pending




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